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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 25-cv-00425-STV

TINA M. PETERS,

       Applicant,

v.

JOHN FEYEN, in his official capacity as Sheriff of Larimer County, Colorado; and
PHILIP J. WEISER, in his official capacity as Attorney General of the State of Colorado,

       Respondents.


                          ENTRY OF APPEARANCE OF COUNSEL

     To:        The clerk of court and all parties of record

                I hereby certify that I am a member in good standing of the bar of this Court, and

I appear in this case as counsel for the United States of America.

           DATED at Denver, Colorado this 3rd day of March, 2025.

                                               J. BISHOP GREWELL
                                               Acting United States Attorney


                                       By:     s/Peter McNeilly
                                               PETER MCNEILLY
                                               Assistant United States Attorney
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                                               Attorney for the Government
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                                 CERTIFICATE OF SERVICE

       I certify that on this 3rd day of March, 2025, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
counsel of record in this case


                                       By:    s/Mariah Hill
                                              MARIAH HILL
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